ta

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 1 of 31

OFFICE OF THE MONTEREY COUNTY COUNSEL
CHARLES J. MCKEE (SBN 152458), COUNTY COUNSEL

LEROY W. BLANKENSHIP (SBN 065233), ASSISTANT COUNTY COUNSEL
EFREN N. IGLESIA (SBN 71309), SENIOR DEPUTY COUNTY COUNSEL

168 W. ALISAL, 3RD FLOOR
SALINAS, CA 93901-2680
Telephone: (831) 755-5045
Facsimile: (831) 755-5283

NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP

STEPHEN N. ROBERTS (SBN 062538)
NICOLE A. TUTT (SBN 179244)

50 CALIFORNIA STREET, 34TH FLOOR
SAN FRANCISCO, CALIFORNIA 94111-4799
Telephone: (415) 398-3600

Facsimile: (415) 398-2438

Email: montereycase(@nossaman.com

NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP

JOHN J. FLYNN (SBN 076419)
18101 VON KARMAN AVENUE
IRVINE, CA 92612-0177
Telephone: (949) 833-7800
Facsimile: (949) 833-7878

Email: montereycase@nossaman.com

Attomeys for Defendants/Respondents

BOARD OF SUPERVISORS OF THE COUNTY OF MONTEREY;
TONY ANCHUNDO, IN HIS CAPACITY AS MONTEREY COUNTY
REGISTRAR OF VOTERS; AND THE COUNTY OF MONTEREY

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

WILLIAM MELENDEZ; KEN GRAY; JYL
LUTES; CAROLYN ANDERSON; AND
LANDWATCH MONTEREY COUNTY,

Petitioners and Plaintiffs,

V5.

OF MONTEREY; TONY ANCHUNDO, IN HIS
CAPACITY AS MONTEREY COUNTY
REGISTRAR OF VOTERS; COUNTY OF
MONTEREY; AND DOES 1 THROUGH 10,
INCLUSIVE,

)

)

)

)

)

)

BOARD OF SUPERVISORS OF THE COUNTY
)

)

)

Respondents and Defendants. )
)

200358 _2.DOC

Case No.: C 06-01730 JW

ASSIGNED FOR ALL PURPOSES TO:
HON. JAMES WARE

DEFENDANTS’ OPPOSITION TO
APPLICATION FOR ISSUANCE OF
TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Date: March 21, 2006

Time: 10:00am.
Dept: 8

Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 2 of 31

TABLE OF CONTENTS
Page
1. INTRODUCTION. ..0....cccccccccecseseseeeceseeneseseeseencaseeeseeesseesennsanreseesccescasesssceatsseassausensessenersesnenes 1
2. BACKGROUND. ....--sscssssesesssesseseeenseesesseecssterstecatseveeseseeccereessessssssnssanseusenseateesnessnensenesenananes 2
3. THE INITIATIVE SHOULD NOT BE ON THE BALLOT BECAUSE OF ITS
PROCEDURAL AND SUBSTANTIVE FLAWS ......cccccscssersnssseetssnesenesnsstssesseassenseeses sreeeeed
4, NUMEROUS FATAL DEFECTS IN PROPONENTS’ CIRCULATION OF
THE INITIATIVE PETITION SHOULD KEEP IT FROM THE BALLOT. ....cecccseeeeens 6
A. Placing the Initiative on the Ballot Would Cause The County To Violate
The Federal Voting Rights Act. .....eccccsesssessssessenenseresssscssnecssenssescsenersseesensneeseeres 6
(1) The Initiative Was Not Circulated With a Spanish Language
THAMST ALON. 6c ccesccecseeseeessstesnescenenceneasnessenesecueeetaaeaeeasceeonsanseasentsersesseeeserserersss 6
(2) Contrary to Plaintiffs’ Assertions, The County Is Bound By
POET A. ecceccccccecssssesecessenseencessenseesseceeteesaeeserseeacensesneevacereenseeecerasseatineeenesssenaad 9
B. The Initiative Fails to Comply With Constitutional and Statutory
Requirements That the Initiative Petition Contain the Full Text of the
Proposed Ordimannce. ...........scccssssescccessseeseeecsscasenesseatseeseaeesceenseessenseesaeceeseesersenerensenees li
C. The Petition Violates the “Single Subject Rule.” oo... ee eeeeeesceeesenerseeresseraneees 13
5. THE INITIATIVE IS RIFE WITH SUBSTANTIVE DEFECTS THAT
RENDER IT VOID AS A MATTER OF LAW. ..00...ceccccssesseceeceeeeceecnseneeeceneaeenenesseneeanennes 15
A. The Initiative Conflicts With State Law Governing Areas of Statewide
Concem in at Least Three Different Ways. 00.0... cc cccccsseseeseeseeeceeeeeneneeneesenesenteeten 15
(1) The Initiative Conflicts With State Legislation Governing the
Adoption and Amendment of Housing Element s............:c.:cccceeseseserseereeeees 16
(2) ‘The Initiative Conflicts With State Law Governing Annexations of
County Territory. ...cccccccscereecees esseseseeseseuecaesesesessaesssecausessuecsaseeescaeesaceeaeaeanes 18
(3) The Initiative’s Development Exclusion Categories Conflict With
the Subdivision Map Act. ..cccccecsccscessssssseesssssceseassccsesseesseeeessaeasnasseeseaeeraeeees 20
6. THIS CASE WAS PROPERLY REMOVED TO FEDERAL COURT. ........ seseeseutuseeseseet 23
7. CONCLUSION. ..00...eceeeeeeseseseceecceeeseetsessseseeensneeseaasacesscenecesecncareceuenseacsessenscesseaenenseceneeserenens 24
200358 2.DOC i- ~ Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 3 of 31

TABLE OF AUTHORITIES
Page

Cases
Alliance for a Better Downtown Millbrae v. Wade

108 Cal. App. 4th 123 (2003) ..0.....eesecssessectsenecesescenceeseassesssnsssssssseessesecuscensesesssesnssnsseseneaesneesseesseenersaats li
Beck Dev. Co. v. §. Pac. Transportation Co.

44 Cal. App. 4th 1160, 1199 (1996) oo eee cecenetsneessscesensasneeenee saeeassessesosaseneessccstenssearersenarecess 21
Breuer v. Jim's Concrete of Brevard, Inc.

538 U.S. 691 (2003)... -seseerreeesceess besseseecenscesceaescaceeeseeesseesseacssencaeaeansenesarseseeataesesscasectenenssassesanacnees 23, 24
Brosnahan v. Brown

32 Cal. 3d 236 (1982) .....esesccscersesessssessensessscssaesscecsenseansencensorssestaesaesesessarscaeecsesenssassoensseassenssensteneeseees 14
Bruce v. City of Alameda

166 Cal. App. 3d 18 (1985) ..cccccsccsscsessssssesscsssssssessssevscsessssssccssssssessssusessessesecssssusesssessuecsssssnaceessaueceseed 17
Buena Vista Gardens Apartments Assn. v. City of San Diego Planning Dept.

175 Cal. App. 3d 289 (1985) oo. esecesseseecescstecesseesesssecseseeeseensseassenaesesensenessnsnsesarasecaesetassenceseeesesatassenes 17
Building Industry Assn. v. City of Livermore

AS Cal. App. 4th 719 (1996) ooo. cseeeeeeeseeseeneeesseeeseeeenseeeecsseeseceseneseeesaveebesseatenseenetasscseatanseiesseaseeeeaeanas 16
Building Industry Assn. v. City of Oceanside

27 Cal. App. 4th 744 (1994) ooo. cececesssseseseeeececcacecesenceseeesesesesesesneavsuseesestensseaesneneseessaeseesessseseeneeeanenes 16
California Trial Lawyers Association. v. Eu

200 Cal. App. 3d 351 (1988) ooo eee tceescseesecsscnerseecceesanscseeseseasesenenecsenssasaacsecessecssnesseeseeoessctaneneeses 15
Chemical Specialties Manufacturers Assn. Inc. v. Deukmejian

227 Cal. App. 3d 663 (1991) oo... seesessescctsssesesesecseosscceessessoasseaseasesueseecsenssneseseearsrsaeseascnsseneenseenentes 14
Citizens for Responsible Behavior v. Superior Court

1 Cal. App. 4th 1013 (1991)... ecsseseesseerserterseesees seve sescaeaesesescusscesensaeseneneaeeaeseatseacseaescaeeneesnateeetas 1,5
City of West Hollywood v. Beverly Towers, Inc.

52 Cal. 3d 1184 (1991) eee cceeeeenenenesseseseseacaenesenssenssesseessssessessasesenseseaeseesueecsecstseesesesees veeeeeeeeeees 21
200358_2.DOC -ii- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 4 of 31

TABLE OF AUTHORITIES (cont'd)

Page

Committee of Seven Thousand v. Superior Court

45 Cal. 3d 491 (1988) oo. eee eeeeeeeceeeeseesseesnserereeeenesneeserssesessseans ssscascssceucenceascaueaueaueneessesseeneeneeneeste: 16
County of Fresno v. Malaga County Water District

100 Cal. App. 4th 937 (2002) 0... ceeeeeeesessecsscesceesececeerscersreersessssssnesscausseneaeseesenecsasesepenssnesnesaesensenenennss 19
De Vita v. County of Napa

9 Cal. Ath 763, 776 (1995) sccassssssssasetsesstasisnenanee sussasssnsssaseesenssannansnnsesssacanenensanscessessee sae 16
deBottari v. City Council

171 Cal. App. 3d 1204 (1985) oon. eescneeeeeeeeseseecsesssaeasersscecasansessocatsestntevessensensenerenerseterseserssatiee 5
Farley v. Healey

67 Cal. 2d 325, 327 (1967) one eeeeceeeeeeececeseneseeeseeestecsensccsenenaesascnsoessueseeerscerassnaabeversorssenenenenestereensnenssoes 5
Ferrini v. City of San Luis Obispo

150 Cal. App. 3d 239 (1983) oo... csecceesenseccecsnetaeesecensseneensenenenscaeseeseececsessenseesstessensteccesassessseranseas 20
Friends of Lake Arrowhead v. Bd. of Supervisors

38 Cal. App. 3d 497, 508 (1974) oo. eeeessssccccenceeseeseecneeeaesersensascaeseessecssonsesserevsesesscsesersegtsetseeeeneti 23
Gaus v. Miles

980 F.2d 564 (Sth Cir, 1992) oo ecseeseesneesseoeseneeeveversecnsvecsenseersseneeenerestsenseassereversesessinatecieerceseenie 23
Golden State Homebuilding Assocs. vy. City of Modesto

26 Cal. App. 4th 601 (1994) ones eeesenersesesenseessccetccseseneesssersceesenatassseenessensreessenscntseseraserentacenene DD
Great Western Sav. & Loan Assn. v. City of Los Angeles

31 Cal. App. 3d 403 (1991) oon ee eeessessecncsssensscuceeceesescesscenseneeseeeseesssssssoveencuereesseneetaciessreteneeeneaes 22
Harbor v. Deukmejian

43 Cab. 3d 1078 (1987) oo. ceessecessscseescsescesesesenesseccssessscsesecaesessesesecnsseasaneaesescenenseeseseeassesssseseseseseaensees 14
Hebard v. Bybee

65 Cal. App. 4th 1331 (1998) woe eesessesenesesessesrecsesssseessssseersacnssesseesseerscsseesseseeeacaneoeaess Veseeeeteeee 12
Legislature v. Deukmejian

34 Cal. 3d 658 (1983) oon. eseecssscessesceesesersesssvevsccscesuesessssevscesssssacseserasasseesacseessesacaeatenseensees 2, 16, 17, 18
200358 2.DOC -lii- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 5 of 31

TABLE OF AUTHORITIES (cont'd)

Page

Madrigal v. County of Monterey

No. C06-01407 (N.D. Cal. 2006)... eeeecneceeeeescetecssecaesereseseesencaeneesecensssesuaseseaseeseseauseesasesaeeaeas 1,9
Mervyn's v. Reyes

69 Cal. App. 4th 93 (1998) on. eee ceeseeeeeesteeeeesenersevensesssssissssuessesssenssensaeseecensneseeessssceseneasees 1, 5, 12, 13
Nelson vy. Carlson

17 Cal. App. 4th 732 (1993)... cssssssccesseseessecsecessaeeeessoseccnseeseererevecsenseecesstessscerstosesseausssssesenseteneseseees 12
Padilla v. Lever

429 F.3d 910 (9th Cir. 2005) sessecesesseseesunessevtceessriennseviensesensannesvuneeeevinsetesvsneceevieecevieeesessnees passim
Saenz v. Roe

526 U.S. 489 (1999)... ececcesssseesssesscessesesesesecseeeesseaescuacsseseaseessensseossceassevecsssesseesaensearseosneesvasversseeeseres 15
Save Stanislaus Area Farm Economy v. Bd. of Supervisors

13 Cal. App. 4th 141 (1993) oo eesesssesssevsreccssncsrsssseaseceseaseqesaresescsrsasssassessocssesssassessneasesessnersersserssaeres 6
Senate of the State of California v. Jones

21 Cal. 4th 1142 (1999) oo eeeeseeesseeseeesesescesscsenessescneesenscessevenesssenessesevaccssecsssessrersersessensersonsessseetes 2
Sexson v. Servaas

33 F.3d 799, 801 (7 Cir. 1994) veecceccsssesssssssssssessssssesssessssssessssssesessssessssnsessseesssvscsssenssnesessscensasessevesessees 24
Shamrock Oil & Gas Corp. v. Sheets

313 ULS. 100 (1941) eee eeeesescceeeeseeceeeeescossenseaeeeeseacnsensusensenssecsseessnenserscessensessseeasesisesnanenserseenatees 23
Smith y. Winter

T17 F.2d 191, 194 (5™ Cir, 1983) ..cecccecccsccsccsescecssssecsucsesessucseusesseecsseessuseeussssvsesnecssesersuessusessuessvceeseees 24
Wachtler v. Cuomo

1991 U.S. Dist. LEXIS 17069 at * 10... ce cseeseeeseeeseseeceseeeeeseseseeeseaesesescsssscstacacarsccesecnseseessestaneeates 24
Yoshisato v. Superior Court

2 Cal. 4th 978 (1992) oc ccssccssesssssssscssscccecesssenesescsceceseesesstseseneessenssatstaeseecesnsaceseseserescneesaneeeressesases wee 12
Youngblood v. Board of Supervisors

22 Cal. 3d 644 (1978) woe ccececececessessenessscsseesseesassserscessessesaecesssssesaesesecseaesasueacsescsnsueaceesnesesesssaseeass 21, 22
200358_2.DOC -iv- Case No.: C.06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION °

me Ww bw

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 6 of 31

TABLE OF AUTHORITIES (cont'd)

Page

Zaldivar v. City of Los Angeles

270 F.2d 823 (Oth Cir, 1986) oo... eeecceeeescsesceeseeeeeeeeersceeaeanaesssevesensareereosseersessesesessscassnaaaeseseeesseneeses 10, 24
Statutes and Regulations
28 C.PLR. § 55 eescescepeceeersserees sreseeseseesseneenennnonnannesnansnoncenseenncenenssnensinustusnionnsansnnnennsectnceeeececectestaassunanaien 7
28 CFR. § S519 ee ececeescseeesceeastenecceseensecsceresenaeeseeveeegscseseaereeerecsserseesesessessensenessssbsd:esecsseeusenseansneseneeesaees 9
28 CER. SD oe ceccesccecessccesseccnscceccesescecsceeseeseeresereeseseseecereestenesseseetsesesssesscsndssssesesssessssceaseensneeassaseonaeneeenteanes 9
28 U.S.C. § 1443 ec cescecsnesenstcnsncestsensesesessenscanenevevsencensvessseensecnsssnseanenscsesmsnacenen sescseseaeasasseneeenees 23, 24
AD US.C. § 1973 eee cecccscsssecssessseesscssceceacseacsesssesseeeseeeacaeanseecseeseceeeaesenessaseseceseaeaeesseeescaeeeeeensterseaniees 6,9
Cal. Elec. Code § 9014 ooo... ssssseesrsessssesseesnesnceseesrsescesvsnsseeenecscesstersesseesnessesensensseccesesaneeeeerstenssnseenerseses 11
Cal. Elec. Code § 9101 oo. eccccssessscssccesssssessecssecsecssessnssssenessensnsnsecnsessseaasenssseasceasesssenseonsuaneeesseasscensessaenes 11
Cal. Elec. Code § 911] cessesssssssssssssssssssssssssccscuvenssenssscescssesccsssesscserccsssssereaseavcesssssstscassusssuetssasensesessssnsanied 4
Cal. Elec. Code § 9114 oo. cccescscsssesccsensssessesssceecnssseseessssessssessnesneonenseaneaneenesaesaessesacensensagesaeseenesneaseatenteneens 8
Cal. Elec. Code § 9118 .o...eecesecssssseserssessseesserssssearseenesecssarseseensssseausaenesesseseossanaesusarsesssauatsnsnensscunsneatseeneeees 4
Cal. Elec. Code § 9147 oe eceeessecssesessesecsssnencanseescnesaeneaesenenenssaescseseesesesaesensseeseneesesesessseaeeesneaeansaenanses 11
Cal. Elec. Code § 9201 oo... ccsssssesessessessesesscsusesseesessnsssusasscescscensseusseassaesssseassasesssaesseaesseseseeaepesaeseeneease 11
Cal. Elec. Code § 9238 oo. cesssssscsssesssssecsssescesscsesevssevsssuseseseorssouaussseseauacsecsssssssceesessseosseseseaeseaeseseaeaae li
Cal. Elec. Code, § 9105 oo. ceeessscsesessseesesessseeesessseacuersssssesesnsssescscasscacencesseaesarsssencevarsensateanesserenseanerseseses 8
Cal. Gov. Code § 56000... ce cceccccsssessesecsescseeesersenererecnesusessenssssescausuerasesesscessessusueessesacseausesteeusneusavansass 19
Cal. Gov. Code § 56001 ......ssssecsessesssssnteesssstscssnssssnseesesnssssnsveesnsnsesssaseessavscessnseessarecsssnscesnsscessasecseanaesen 19
Cal. Gov. Code § 56054... cece csesssseseceeneesssescensecssscsnessavacersnevecseasavareneneneanssieatasseeessentsnenssesscatateceneaseas 19
Cal. Gov. Code § 56301 ccc icseececseneceseessensneeseceseessesessseessessseeseneacsesssessescansessasssssesuecssasscaeseseneuseaes 19
Cal. Gov. Code § 563250... ssessssssssssssssesssssssssscssssssssssnsscacesesessssssscscsussguencacscsarscsversacavaesevseseeesavereacavees 19
Cal. Gov. Code § 56375 .o...eseececsesssssssesssssessssessssssscsesecesesescsscossesesescessevsesscessassacsvacsssesesesssseseneavsnasenesens 19
Cal. Gov. Code § 56378... .cscsecessesesssessensceseescatstsasccssssssecesscoensaseseneavssesensensanssesenesesscassussesenssesacerenessees 19
200358 _2.DOC -v- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 7 of 31

TABLE OF AUTHORITIES (cont'd)
Page

Cal. Gov. Code § 56425... ccscccsseestecsssesseecseetecneeeeeresscesenessusensnenssassasecasaraeusenaserenssesssissustensrereserecssensnesses 19
Cal. Gov. Code § 57000 ....0..ccccccccccsescessssesensceesaeeeneeseeeeneaceneseseeeeseeseesenscaneaseameaesassasaasaonssassasesoeseeesaneneges 19
Cal. Gov. Code § 57026......cccsscsssssssecsseesseesseessussevessveseseconecsesrsscssscesssessessscsaseaueensesneessesaneceneessessusseacessesses 20
Cal. Gov. Code § 57075......cccssseessccneeesseerenereeseersveesecersesssverseersascsnsesseascessssesseseaseeesensseuaseueeseseseeseeseneeeses 20
Cal. Gov. Code § 655800... cccssccnsesssesssesssereesstesssosncssssesrossecseecanetentesensssesenssessssesesssusseeaneaseens eeseeenaeoes 16
Cal. Gov. Code § 65581 ooo ces teccnecsteestesstecressneeescssessssesnseessescsesessensseseasessenseseeaserssessseusaseseensaneneseseee 17
Cal. Gov. Code § 65585.......ccsccsesscsessssesssessenssessessessseesncenseesnsensesaeacesecousnsenaeersesseatsatearsseteseescavecnesesneeane 17
Cal. Gov. Code § 65588... esesssecssssssesesenscenseatscnecscscnsseestsersuccetsenscesssrecatenceesengenseaacossaeetsessenscenerenserers 17
Cal. Gov. Code § 65961 ooo. esscseneesersssesenseenessssseessceesserseasaeaeeacssesssstessaceasenesassnenseaeaanersesensseesenees 22
Cal. Gov. Code § 66410... ccc cecesssscessesseeessesstessnecesesseessnsessecsseessesensceseecssesesesseeessuensessaeecaucssaesatesseesees 4
Cal. Gov. Code § 66473... cccecssseescssecssecsessuesseestessessnesneseeees Lensesesteseceneessesseseneeessessecsecstesssssaesaneaeesneess 21
Cal. Gov. Code § 66498 oe ceeesssensesssensnsessvevscnssenessenscenstesssesnscnseasessesseosenassneesseesstsnsenseasaceeveaiens 22
Voting Rights Act § 1973 .o.......cscssscssssssssssssessceseesscensseteseccssseceseeseseatessacenensteenes ventententeneaeneseteneeaee Passim
Other Authorities

63 Ops. Cal. Atty. Gen. 601, 602 (1980) oo. eee eseeessesssccssenserstsesencacaecsansvansecenscaneratecsesessecaseseeesenses 23
63 Ops. Cal. Atty. Gen. 64, 65 (1980) oon. cceccssessssscseseesenencssenensessneseansenseersasensaesesssesseseessensaeseenseeasass 23
64 Ops. Cal. Atty. Gen. 549, 550 (1981) o.oo eee seeeseessscssecseecstscsecessscecsesesessenssesceeseaesessessesseassnsessseeses 23
Cal. Const. art. IL, § 8... eecececsssessenssessecsssessessensssssusenssessscsseasscsassassesaesceseenesesesssecaesteaesssstsscsscesseesessease 14
Cal. Const. art. IV, § 9 oo sessesssssssscssscsccesesescsssessssssssesesesssessssesssesesesesessnesessseeascsesescecessvensvesuseens w LI, 12
Cal. Const. art. X10, § 07 ooo eessssssssesscsesenssessesesesseseseseesesesesusasaussssesesesesassesecsssssaesssacsscccsecseseceeensearengenesees 16
Cal. Const., art. XI], § 7 ....cccccssccssscesssscsceecssscuseuseesestssssessscssseccesevsesevecseansausesscsacsavsasscnscsecacuesereseatsareusareaees 16
Cal. Gov. Code § 66474000... cccecesseteeesesseesecees veveeovseveeeaeeseaescerssesseessesscssecsessaesseatenseaseausauseesasenses 21,22
200358 2.DOC -Vvi- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 8 of 31

1. INTRODUCTION.

In this case, the Court must determine whether a palpably defective and demonstrably void
initiative measure should be placed on the ballot. This is not a close case; the Initiative’s procedural
flaws alone so upended the electoral process that the County had a ministerial (that is, non-
discretionary) duty to reject the measure. See Mervyn's v. Reyes, 69 Cal. App. 4th 93 (1998).

To date, Plaintiffs have not rebutted most of the many problems with the Initiative, but primarily
have seen fit only to recite the mantra of deference to the “sacred” prerogatives of the initiative process.
That deference does not apply here. As one court noted, to apply the usual rule of deference in a case
like this would only result in “the useless expenditure of money and creation of emotional community
divisions” and would “require the meaningless charade of a pointless election.” Citizens for Responsible
Behavior v. Superior Court, 1 Cal. App. 4th 1013, 1023 (1991).

There are multiple reasons to deny the requested relief:

(a) The Initiative Petition Was Not Circulated in Spanish, Resulting in Probable
Violations of the Federal Voting Rights Act: The Ninth Circuit very recently held that failure to
circulate a recall petition in the minority language constitutes a violation of § 203 of the Voting Rights
Act of 1964. See Padilla v. Lever, 429 F.3d 910 (9th Cir. 2005) (petition for rehearing en banc filed).
The proponents of the Initiative petition failed to circulate the Initiative petition in Spanish. On the basis
of that potential violation, three voters of the County have filed an action in declaratory and injunctive
relief against the County. See Madrigal v. County of Monterey, No. C06-01407 (N.D. Cal. 2006). That
action is related and pending in this Court.

(b) = The Initiative Did Not Contain the Full Text of the County Land Use Documents It
Purports to Amend, Violating the “Full-Text Rule”: Because it has jurisdiction to consider the
Federal Voting Rights act issues, this Court has concurrent jurisdiction to consider state law issues, the
first being the “Full Text Rule.” Compliance with the “Full-Text Rule” has been held essential to the
integrity of elections in California. Mervyn’s, 69 Cal. App. 4th at 101. The Initiative did not contain the

full text of the documents it purports to amend -- thereby precluding full disclosure of the Initiative’s

200358 _2.D0C -1- Case No.: C.06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

oOo ™]

\O

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 9 of 31

effects, and foreclosing informed decision-making by the electorate. On that basis alone, the County
had a ministerial duty to reject the Initiative. Jd, at 104-105.

(c) The Initiative Violates the Single-Subject Rule by Containing a Right-of-First
Refusal Clause That Is Unrelated to the Initiative’s Growth-Control Goals: The Initiative’s nght-
of-first refusal for residents to purchase new affordable housing has nothing to do with the Initiative’s
growth control objectives. The joining of such disparate enactments violates the Single-Subject Rule.
Senate of the State of California v. Jones, 21 Cal. 4th 1142, 1158 (1999).

{d) The Initiative Directly Collides With the State’s Legislative Scheme for Addressing
Housing Needs in California -- an Area of Statewide Concern: The Legislature has enacted a
comprehensive statutory scheme for the amendment of housing elements. The Initiative nevertheless
purports to amend the County Housing Element and subject ali future amendments of that document to a
vote of the electorate -- a process that conflicts with the State statutory scheme. The Initiative therefore
would force the County to violate State law. On that basis, the Initiative is void ab initio.

(ce) The Initiative Intrudes on State Law Governing the Annexation of Unincorporated
Territories: The Initiative is also void because it subjects development outside of city boundaries and
defined community area urban limit lines to a vote of the County electorate, making the movement of
city boundaries and annexation of unincorporated territories subject to County voters. That conflicts
with the carefully crafted state scheme for annexing unincorporated land -- an area of statewide concern.

(f) The Initiative Conflicts With the Subdivision Map Act: The Initiative exempts
vesting tentative maps -- and only vesting tentative maps -- from its growth control restrictions. The
scope of the Initiative’s protections ignores the broader legislative protections afforded by the
Subdivision Map Act. The Initiative conflicts with state subdivision law, and impermissibly intrudes
into areas of statewide concem, rendering the Initiative void.

2. BACKGROUND.
A. Stated Goals of the Initiative.
The underlying Initiative measure to impose an amendment of the Monterey County General

Plan, Including the North County Land Use Plan (“Initiative”), is intended to regulate growth in the

200358 _2.DOC -2- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 10 of 31

County by amending the County General Plan (“General Plan”). The stated goals are: (a) to subject
further development in the County to a vote of the County electorate; (b) to increase the proportion of
affordable housing units; (c) to ensure adequate local police and fire protection services for new
development; (d) to improve traffic circulation; and (e) to ensure adequate water supply for new
development. See Initiative, at 1-2, attached as Exhibit A to the Declaration of Tony Anchundo
(“Anchundo Decl.”).

B. New, Restrictive, Land Use Classifications.

To achieve its goals, the Initiative creates new “Major Land Use Classifications” consisting of:
(a) cities; (b) community areas; (c) rural lands; (d) agricultural lands; and (e) public lands. The
community areas identified in the Initiative are: (a) Pajaro; (b) Castroville; (c) Boronda; (d) Chualar;
and (e) Fort Ord (‘Community Areas”). /d., at 3. The Initiative’s designation of the Community Areas
purports to “supersede any undeveloped Areas of Development Concentration” described in the existing
Countywide Land Use Plan, the existing Area Plans, and the certified Land Use Plan contained in the
County Local Coastal Plan. Jd., at 4. The Initiative sets up urban limit lines within the Community
Areas and purports to restrict development outside those boundaries and the boundaries of incorporated
cities (“Development Restrictions”). /d., at 4-6.

Cc. Development Restrictions.

The Development Restrictions are generally set forth in Policy 26.1.4, which concentrates urban
development in the confines of the urban limit lines defined for the Community Areas of Boronda,
Castroville, Pajaro, Chualar, and Fort Ord (“Concentration Areas”), if such development is phased to
ensure sufficient road capacity and an adequate water supply. /d., at 6. Subdivision of areas outside the
Concentration Areas cannot take place, unless: (a) the subdivision is limited to agricultural uses,
resource protection or community buffers; (b) the development is pursuant to an approved vesting
tentative map, development agreement, or other form of vested right; (c) the development is a residential
cluster development meeting certain provisions enumerated in the Policy. Jd., at 6-7. Voters must
approve development outside the Concentration Areas that does not conform to the above. Jd, at 5.

D. Exceptions to the Development Restrictions.

200358 2.DOC -3- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

bo

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 11 of 31

The Initiative generally excepts certain categories of development from its proposed restrictions.
Among the excepted categories are: (a) projects subject to vested development nights or a development
plan approved by the voters; (b) undeveloped “lots of record,” (i.e., lots that are legally eligible for
conveyance or construction of improvements under the Subdivision Map Act, Government Code §
66410, et seg. (“Map Act”). Id., at 5-6, 7.

E. Amendments to the Housing Element.

In addition to the development restrictions, the Initiative seeks to amend the County Housing
Element and other components of the General Plan that pertain to affordable housing. See, e.g.,
Initiative at 52, et seq. Among other things, the Initiative contains aggressive affordable housing
requirements -- in some cases requiring 40 percent of new residential units to be affordable in
perpetuity. /d., at 59.

F. County Actions on the Proposed Initiative.

On January 31, 2006, the County Board of Supervisors (“Board”) ordered a report on the impacts
and effects of the Initiative, pursuant to Elections Code §§ 9118, subdivision (c), and 9111 (“Report”).
Anchundo Decl. at 1:16-19. County staff prepared a report which outlined numerous procedural and
substantive flaws with the Initiative: (1) the Initiative was not circulated in compliance with the Federal
Voting Rights Act; (2) the Initiative would violate State legislation governing the adoption and
amendment of housing elements; (3) The Initiative conflicted with State law governing the annexation
of unincorporated territories; (4) the Initiative’s development exclusion categories conflicted with the
Map Act; (5) the Initiative was inconsistent with the County’s General Plan; (6) the Initiative failed to
comply with the statutory “Full Text Rule”; (7) the Initiative violated the “Single Subject Rule”; (8) The
Initiative is void insofar as it is not fiscally responsible; (9) the Initiative is void insofar as it exceeds the
requirement that it enact legislative acts; and (10) the Initiative’s right of first refusal with respect to the
offering of new housing units may be constitutionally invalid. See generally Report, attached as Exhibit
B to Anchundo Decl. Following a public hearing on February 28, 2006, the Board voted not to place the
Initiative on the ballot, given its myriad flaws. Anchundo Decl. at 1:20-21.

200338 2.DO0C -4- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 12 of 31

3. THE INITIATIVE SHOULD NOT BE ON THE BALLOT BECAUSE OF ITS

PROCEDURAL AND SUBSTANTIVE FLAWS

Where an initiative petition does not substantially comply with federal or state election laws, a
governmental agency has a “ministerial duty” to reject the initiative. Mervyn’s at 104-105. The reason
for such a standard is clear: The election procedural requirements are designed to “protect registered
voters from confusing or misleading information, so as to guarantee the integrity of the process.” Jd.
Where the election procedures are not properly followed, the electorate is deprived of participation, and
the integrity of the democratic process is upended.

The Initiative failed to comply with the Voting Rights Act of 1964, as interpreted by the Ninth
Circuit in Padilla, 429 F.3d 910, because it was not circulated in Spanish -- the minority language of the
County. Also, the Initiative did not comply with two critical sections of the California State
Constitution and the State Elections Code — the Full Text Rule and the Single Subject Rule.

Even putting aside these fatal procedural flaws of the Initiative, it is settled that a court may
uphold a local government’s decision not to place an invalid measure on the ballot due to substantive
flaws in the measure. See, e.g., Farley v. Healey, 67 Cal. 2d 325, 327 (1967); Citizens for Responsible
Behavior, 1 Cal. App. 4th at p. 1021; deBottari v. City Council, 171 Cal. App. 3d 1204 (1985). While
the usual rule is to err in favor of the democratic process by presenting a substantive challenge to a
measure after, as opposed to before, an election, the rule of deference dees not apply where a measure
is clearly invalid. In such circumstances, no purpose is served by submitting the measure to the voters,
only to be faced with a certain post-election nullification by the courts. As one court noted:

Invalidity, like pregnancy, admits of no half-measures. If an ordinance

proposed by initiative is invalid, routine deference to the process will often

require the charade of a pointless election.
Citizens for Responsible Behavior, 1 Cal. App. 4th at 1023. Indeed, to subject an inherently flawed
initiative to the electoral process results in a waste of governmental and judicial resources, in addition to
furthering community division and discord over the initiative’s issues:

[I]f an initiative ordinance is invalid, no purpose is served by submitting it

to the voters. The costs of an election -- and of preparing the ballot

material necessary for each measure -- are far from insignificant.
[Citation.] Proponents and opponents of a measure may both expend large

200338 2.D0C 5 Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

OF “~) A Wh

Oo

10
li
12
13
14
15
16

17

18
i9
20
21
22
23
24
25
26
27
28

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 13 of 31

sums of money during the election campaign. Frequently, the heated

rhetoric of an election campaign may open permanent rifts in a

community. That the people’s right to directly legislate through the

initiative process is to be respected and cherished does not require the

useless expenditure of money and creation of emotional community

divisions concerning a measure which is for any reason legally mvalid.
id.

To make its argument that the County somehow had the ministerial duty to place the Initiative on
the ballot, notwithstanding its fatal flaws, the petitioners rely heavily on Save Stanislaus Area Farm
Economy v. Bd. of Supervisors, 13 Cal. App. 4th 141 (1993). That case is not instructive here; the court
in Save Stanislaus was not faced with federal law defects or a procedurally defective measure under
state law. Indeed, the holding of that case presupposes a valid measure. See Save Stanislaus, 13 Cal.
App. 4th at 149. By contrast, as demonstrated below, the Initiative here failed to pass muster under the
federal Voting Rights Act, as interpreted by the Ninth Circuit in Padilla; and it fails to comply with the
California Elections Code. In any event, even the state court in Save Stanislaus made clear that the
courts retain jurisdiction to review and uphold a local government’s decision to keep even a duly
certified initiative measure off the ballot. See id., at 150 (“The trial court has discretion whether to
entertain preelection review of a qualified initiative.”).

4. NUMEROUS FATAL DEFECTS IN PROPONENTS’ CIRCULATION OF THE

INITIATIVE PETITION SHOULD KEEP IT FROM THE BALLOT.

A. Placing the Initiative on the Ballot Would Cause The County To Violate The

Federal Voting Rights Act.
(1) The Initiative Was Not Circulated With a Spanish Language Translation.

The Ninth Circuit recently held that failure to circulate a recall petition in Spanish violated the

Voting Rights Act of 1964 (“FVRA”). Padilla, 429 F.3d 910. FVRA § 203 states:
Whenever any State or political subdivision subject to the
prohibition of subsection (b) of this section provides any
Tegistration or voting notices, form, instructions, assistance, or
other materials or information relatirig to the electoral process,
including ballots, it shall provide them in the language of the
applicable minority group as well as in the English language.

42 U.S.C. § 1973aa-1a(c).

200358 2.DOC -6- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

~~“) ON

oO

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 14 of 31

Under the applicable federal regulations, the County is “subject to the prohibition of subsection
(b).” 28 C.FLR. § 55, App. (2005) (identifying the County as being subject to the multilingual
requirements of § 203, and in particular the Spanish heritage requirements). The obligations thereby
imposed on counties such as Monterey are further expounded in the regulations as follows:

The requirements of ... 203(c) apply with regard to the provision
of “any registration or voting notices, forms, Instructions,
assistance or other materials or mformation relating to the electoral
process, including ballots.” ... Accordingly, the quoted language
should be broadly construed to apply to all stages of the electoral
process, from voter registration through activities related to
conducting elections, including the issuance, at any time during the
year, of notifications, announcements, or other informational
materials concerning the opportunity to register, the deadline for
voter registration, the time, places and subject matters of elections,
and the absentee voting process.

28 C.F.R. 55.15. Pursuant to these provisions, “other materials” should be conveyed in Spanish, in
addition to English, so that all the electorate may participate effectively in the process.

Although involving a recall petition, Padilla provides good guidance concerning the

interpretation of § 203 in the context of initiative petitions such as this one. Padilla, 429 F.3d at 910.

First, the court will inquire whether the petition is of the type of “materials or information relating to the
electoral process” under § 203. Second, the court will ask if the petition is of the type of material or
information provided by the State. Jd., at 919. Applying these rules, the Padilla court determined that
“section 203 of the Voting Rights Act applies to all recall petitions circulated pursuant to California
law.” Jd., at 924. While prior to the Padilla decision the County would not have reached the same
conclusion, Padilla’s reasoning suggests that initiative petitions are subject to the same requirement, for
two reasons.

First, Padilla used a plain language analysis to find a recall petition “relating to the electoral
process” because the “election itself is merely the culmination of the electoral process” and recall
petitions “clearly have some ‘bearing or concern’ and are ‘connected with’ an election.” fd., at 919.
Padilla also considered the fact that the Attorney General’s definition of “written materials” specifically

included petitions. Padilla, 429 F.3d at p. 919. Here, similarly, the Initiative’s sole purpose was to

-

200358 2.DOC -7- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

mR Ww bh

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 15 of 31

trigger an election on the issues it contained. In an ordinary initiative case, once sufficient signatures are
gathered, the County must place the initiative on an electoral ballot, if it does not actually adopt the
provisions of the initiative in its entirety. Therefore, the Initiative relates to the electoral process.

Second, Padilla concluded that the second prong of the test was satisfied because the recall
petition was “provided by” the county elections department, within the meaning of § 203, and that the
“broad construction requirements” for the FVRA’s “remedial provisions militate in favor of a
conclusion that there was sufficient state involvement to trigger the bilingual requirements.” /d., at 922.
The court described the many ways in which recall petitions in California “are subject to extensive
regulations that go beyond imposing mere ministerial duties upon elections officials,” including, for
example, the fact that the county elections department “has the authority and obligation to authorize and
approve the form and content of proposed recall petitions, verify] collected signatures, and set election
dates;” and the fact that “[nJo signatures may be collected on a recall petition unless and until the... .
[c]ounty [e]lections department notifies the petition’s proponents that the form and wording of the
proposed petition comply with the Elections Code.” Jd.

Similarly, the County initiative process imposes obligations on County election officials that are
beyond mere ministerial duties. For example, the California Elections Code directs a county to prepare
an impartial ballot title and summary (Cal. Elec. Code, § 9105(b); publish and/or post the ballot title and
summary (content is non-ministerial) (id., § 9105(b)) and append the title and summary on each section
of the petition and at the top of all pages of the initiative on which signatures are gathered (id., §
9105(c).) Finally, the County registrar of elections must examine the signatures gathered by the
initiative proponents, and determine that they satisfied applicable rules as to validity and number (id., §
9114). This type of government involvement in the initiative process is nearly identical to that which
caused the Padilla court to conclude that the petition was “provided by” the county elections

department, within the meaning of § 203, and impels a similar conclusion here.

200358 _2.DOC -8- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Bm ww bho

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 16 of 31

Accordingly, the Initiative process likely violated the Voting Rights Act under the Ninth

Circuit’s interpretation. The Board acted correctly in not proceeding.1
(2) Contrary to Plaintiffs’ Assertions, The County Is Bound By Padilla.

Plaintiffs say that no court has ever held that FVRA applies to privately-circulated initiative
petitions. While technically true, Padilla’s holding that FVRA applied to recall petitions was based in
no small measure on the fact that the U.S. Attorney General defined “written materials” to include
petitions. The Attorney General did not limit that definition to recall petitions. See 28 C.F.R. § 55.19
(a). Furthermore, the dissent in Padilla had no doubt that the majority’s conclusion required all
petitions in the affected counties to be translated: “[A]pplication of § 1973aa-la(c) of the Voting Rights
Act to initiative or recall petitions is inherently perverse ...” Jd. at 924 (Canby, J. dissenting) (emphasis
added). Other reasoning in Padilla seems to apply to initiatives as well as recalls. The County seems to
be bound by the reasoning as well as the holding of Padilla.

Plaintiffs also make much of the fact that the Ninth Circuit’s ruling in Padilla is in conflict with
the rulings of two other circuits on the issue. That much is obvious, and was acknowledged by the
majority in Padilla, which went to great lengths to explain why it believed that the Tenth and Eleventh
Circuits were wrong. 429 F.3d at 918. Indeed, as Plaintiffs have noted, petitions for rehearing Padilla
en banc have been filed. But those petitions have not been granted, and until they are, Padilla is the law
of this Circuit, which must be followed by the County. Indeed, even before the Board voted to reject

Plaintiffs’ petition, it had already been served with the Madrigal suit, alleging that the County had

1 The court should be aware that even if this initiative measure were to be placed on the ballot
by either the Board of Supervisors or the Court, the measure still might be subject to § 5 of the
FVRA. 42 U.S.C. § 1973c. Under that provision, no change affecting voting is enforceable until
it is pre-cleared by the Department of Justice (“DOT”) and finally adopted. Some of the
provisions in this Initiative might be deemed as affecting voting, and therefore might be subject
to pre-clearance. With regard to the Initiative, “final adoption” would be when the County
Board of Supervisors calls the election and sets the Initiative forth on the ballot. The DOJ is
required to interpose an objection within 60 days of a submitted change affecting voting,
pursuant to 28 CFR 51.9(a). It is possible that a refusal to pre-clear might come in after the
matter is already on the ballot or, due to delays on the part of DOJ, even after the time it is voted
on by the electorate. Failure to comply with the requirements of § 203 might be grounds for

DOJ to reject pre-clearance.
200358 2.DOC -9- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

wo elle

sO

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 17 of 31

already violated Padilla by allowing the signature-gathering process to have taken place without the

Tequisite Spanish translation. Plaintiffs’ preference for the reasoning of the Tenth and Eleventh circuits

over that of the Ninth might be useful upon further review of Padilla, but they are wasted here.

Insofar as Plaintiffs characterize Padilla as announcing a new interpretation of FVRA that
should not be applied retroactively, they misconstrue the court’s opinion. The Padilla court did not
purport to create new law. Rather, the court made clear that it was following Zaldivar v. City of Los
Angeles, 270 F.2d 823 (9th Cir. 1986), where the court had already “engaged in reasoned deliberation
and made a considered decision regarding whether the Voting Rights Act applies to recall petitions,”
which the Padilla court was “not persuaded to depart from.” Padilla, supra, at pp. 916-917. Plaintiffs’
arguments on retroactivity are unavailing for another reason: Padilla became the law of this Circuit on
November 23, 2005, before the Board rejected the Initiative Petition on February 28, 2006. The County
therefore had no choice but to comply.

Plaintiffs make the perplexing argument that accepting their defective petition would actually
further, rather than frustrate the purposes of FVRA, because rejecting the petition denied the rights of
the 15,000 signers who “wanted to participate in the electoral process by exercising their constitutionally
protected right of initiative.” Plaintiffs’ MPA, at 18:19-21. This is fallacious circular reasoning of the
first order. The very point of FVRA and of Padilla is to ensure that minority language petition signers
actually understand what they are signing and voting for. Where, as here, the petition was not presented
to them in Spanish, there is no certainty that the Spanish-speakers among them understood what they
signed, and there is no certainty that in this instance they “wanted to participate in the electoral process
by exercising their constitutionally protected right of initiative.”

Finally, Plaintiffs point to initiative petitions in other jurisdictions that have not been circulated
in Spanish. The County understands that the changes that appear to be effected by Padilla are
unexpected and difficult, but it must follow the current law as it understands it. Defendants will have to
leave it to other jurisdictions to analyze their own legal issues. That some other jurisdiction might not

be acting properly is not a persuasive reason for this Court to ignore the law.

200358 2.DOC -10- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

b&b WwW wh

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 18 of 31

B. The Initiative Fails to Comply With Constitutional and Statutory Requirements
That the Initiative Petition Contain the Full Text of the Proposed Ordinance.

The Initiative purports to amend the County General Plan, and other County land use documents,
such as the County Area Plans and the Land Use Element of the Local Coastal Program. See Initiative
at 2. Yet, the Initiative did not contain the full text of the documents it purports to amend. Declaration
of Alana Knaster (“Kaster Decl.”) at 1:7-11. The Initiative therefore does not comply with the “full text
requirement” of the California Elections Code.

When the proponents submitted the Initiative Petition to the County elections official on
December 12, 2005, they did not attach the existing General Plan or the existing area plans along with
the Initiative and signatures for certification. Knaster Decl. at 1:7-9. Both of those omitted plans are
referred to in, and affected by, the Initiative petition. Since what was delivered to the County was
supposed to be the same as what was shown to voters, the proponents also apparently failed to present
copies of those plans to the voters when their signatures were sought. Jd. Finally, the proponents also
violated the “reenactment” component of the “full text” rule, which required them to submit complete
copies of those plans as they would have appeared after any amendment, both to the clerk and to
potential petition signers. /d., at 1:10-11. -

The “full text” and “reenactment” rules are derived from related provisions in §§ 9147, 9238,
9014 and 9101 of the California Elections Code and from §§ 9, Article IV of the State Constitution.
Section 9101 of the Elections Code requires that when any proposed ordinance is to be submitted to a
county board of supervisors by filing an Initiative petition with the county elections official, the
Initiative petition shall “contain a full and correct copy of the notice of intention and accompanying
statement including the full text of the proposed ordinance.” Cal. Elec. Code § 9101 (emphasis added).
“The purpose of the full text requirement is to provide sufficient information so that registered voters
can intelligently evaluate whether to sign the Initiative petition and to avoid confusion.” Alliance for a
Better Downtown Millbrae v. Wade, 108 Cal. App. 4th 123, 132 (2003) (interpreting the analog of §
9101, § 9201, and holding in part that “the statute's full text requirement has been interpreted to apply to

the manner of circulation as well”).

200358 _2.DOC -11- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 19 of 31

The “reenactment rule” is contained in Article IV, § 9 of the California Constitution, and
provides that a “section of a statute may not be amended unless the section is reenacted as amended.”
The State Supreme Court has described the purpose of this rule as being:
to avoid the confusion which almost always results when
amendments are attempted by way of directing the insertion,
omission, or substitution of certain words, or by adding a
provision, without setting out the entire context of the section ... to
be amended. The effect of this section is that voters considering an
initiative ... are forced to reenact the entire statute as amended in
order to accomplish the desired amendments.

Yoshisato v. Superior Court, 2 Cal. 4th 978, 990 (1992).

Those rules are as binding upon land use initiatives as they are elsewhere. “[L]and use decisions
can be challenged by initiative or referendum. In either case, it is imperative that persons evaluating
whether to sign the petition be advised which laws are being challenged and which will remain the
same.” Mervyn's, 69 Cal. App. 4th at 104 (holding that the full text must be available to those signing
the petition, and it must also be filed with the county elections official).

Courts strictly enforce these rules. In Hebard v. Bybee, 65 Cal. App. 4th 1331 (1998), rejection
of a referendum petition was upheld where a petition, although it included all of the words of the
proposed general plan amendment, omitted only three words from the title of that ordinance, because the
omission created an ambiguity that voters were forced to resolve. Jd., at 1342. In Nelson v. Carlson, 17
Cal. App. 4th 732 (1993), the court invalidated a petition seeking to overturn a resolution by the city
council adopting a general plan, where the proponents failed to attach the general plan to the referendum
petition partly because it was too voluminous, because “[w]ithout the plan individuals reviewing the
petition had no way of informatively evaluating whether to sign it,” and the clerk could not perform her
ministerial duties because the full text was not presented. Jd, at 739 and 741.

The Mervyn's case is instructive. In 1990, the City of Hayward adopted a general plan which
changed the land use of several acres of land owned by Mervyn’s to open space, parks and recreation,

thereby preventing development. 69 Cal. App. 4th at 96. In 1996, a voter Initiative sought to re-enact

the open space land use designations of the general plan, including that land owned by Mervyn’s. Id., at

200358 2.DOC -12- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

oO CO SF NN

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 20 of 31

96-97. The Initiative also provided that it would prevail over any previously approved ordinances or
development agreements (among other things) that were not “fully vested.” Jd., at 97.

Despite having an impact on the general plan and Hayward’s land use policies, “[njo part of the
actual text of the general policies plan map or the supporting policies of the City of Hayward was
attached to the Initiative petition.” fd. Nor were the plan map or supporting policies submitted to the
Hayward City Clerk for certification and placement upon the ballot. Jd., at 97-98. On these facts the
Mervyn’s court found a violation of the full text requirement, in part because the failure to attach the
general policies plan map or the supporting policies prevented the (1) “[p]rospective signers” of the
Initiative “from being fully informed of the substance of the ordinance” (id., at 102), and (2) the clerk
“from dispatching her ministerial function of ascertaining whether there was compliance with the full
text referendum statute’s requirements.” Jd., at 104.

Like the initiative in Mervyn's, the Initiative proponents here attempted to amend both the
General and the area plans without submitting the complete text of the General Plan or the other plans
that would be amended. The Initiative, for example, seeks to repeal the Rancho San Juan area plan by
inserting a few additional sentences into a certain page of the plan, thereby completely eliminating
future development in that area. See Initiative at 23-27, et seq. It does the same with respect to the
community of San Lucas. /d., at 41-45. Yet the proponents failed to submit the current Area Plans
which would have shown the amounts of commercial, industrial or residential development currently
allowed in those areas under the existing General Plan. Anchundo Decl. at 1:12-19.

The Initiative therefore prevented prospective signers “from being fully informed of the
substance of the ordinance,” and from making an informed decision as to “which laws are being
challenged and which will remain the same.” Reyes, 69 Cal. App. 4th at 104. The County had no
choice but to deny placing the Initiative on the ballot.

Cc. The Petition Violates the “Single Subject Rule.”

The Initiative is also fatally defective because it breaches the prohibition in article II of the
California Constitution against initiative measures embracing more than one subject: “An Initiative

measure embracing more than one subject may not be submitted to the electors or have any effect.” Cal.

200358 _2.D0C -13- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 21 of 31

Const. art. [T, § 8(d). The Single-Subject Rule is a “constitutional safeguard adopted to protect against

multifaceted measures of undue scope,” which may otherwise confuse or mislead voters. Senate of the
State of California, 21 Cal. 4" at 1158 (emphasis added).

Generally, an initiative measure complies with the Single-Subject Rule “if its provisions are
either functionally related to one another or are reasonably germane to one another or the objects of the
enactment.” Harbor v. Deukmejian, 43 Cal. 3d 1078 (1987). The Supreme Court nevertheless has
stated that “initiative proponents do not have blank checks to draft measures containing unduly diverse
or extensive provisions bearing no reasonable relationship to each other or to the general object which is
sought to be promoted ... [T]he rule obviously forbids joining disparate provisions which appear
germane only to topics of excessive generality such as ‘government’ or ‘welfare.’” See Brosnahan v.
Brown, 32 Cal. 3d 236, 253 (1982), cited in Chemical Specialties Manufacturers Assn. Inc. v.
Deukmejian, 227 Cal. App. 3d 663, 671 (1991) (invalidating Initiative that sought to do many disparate
things, including reducing toxic pollution, protecting seniors from fraud and deceit in the issuance of
insurance policies, preserving the integrity of the election process, and fighting apartheid).

Here the proponents styled the Initiative as “The Monterey County Quality of Life, Affordable
Housing, and Voter Control Initiative.” As noted above, the Initiative’s purported “goals and
objectives” relate to land use and subsequent housing development; and all require a public vote for any
future expansion. See Initiative, generally and at § 3.a and § 3.a 26.1.3.3. It also contains various
findings pertaining to housing policies, as well as pertaining to “poorly planned” development as it
relates to tax revenues, police and fire service, traffic congestion, and water supplies. /d., at § (A)-(F).
In addition, it contains a finding that explains the need to “enact new general plan policies” relating to
development. /d., at § 1(G).

But buried among the many provisions of the Initiative is one provision that can in no way be
considered “reasonably germane” to the other subjects of the Initiative. Proposed Policy H-3.0(e), is the
“First Right to Rent or Purchase” provision, which confers a right of first refusal on County residents

and workers to purchase affordable housing in the County. Id, at 59.

200358 2.D0C -14- Case No.: € 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

mo CO FN

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 22 of 31

Leaving aside the federal and state constitutional defects of such a provision, a “right-of-first
refusal” clause has no relationship to housing development or land use. The clause appears to have no
purpose other than to confer a unique benefit on the residents and garner additional votes for other,
unrelated, provisions of the Initiative. Regardless of the motives, the right-of-first refusal clause will
result in confusion, misleading the voters into voting in favor of Initiative for the purpose of availing
themselves of the privilege of the first refusal right. That is the kind of outcome the Single-Subject Rule
is intended to prevent. Senate of the State of California, 21 Cal. 4th at 1158.2

The proponents will argue that the “First Right to Rent or Purchase” is related to the issue of
“housing” and “land use.” But the generalized nature of the subject covered by the Initiative cannot
justify the Initiative proponents’ efforts to backdoor a wholly disparate provision such as a right-of-first
refusal. The likely unconstitutional provision attempting to favor Monterey County residents has
nothing to do with the other subjects of the Initiative; any other interpretation of this aspect of the
Initiative would render the single-subject rule a nullity. See California Trial Lawyers Association. v. Eu,
200 Cal. App. 3d 351, 360 (1988).

5. THE INITIATIVE IS RIFE WITH SUBSTANTIVE DEFECTS THAT RENDER IT VOID

AS A MATTER OF LAW.

A. The Initiative Conflicts With State Law Governing Areas of Statewide Concern in at

Least Three Different Ways.

Aside from its procedural flaws -- flaws that give rise to a ministerial duty to keep the Initiative

off the ballot -- the Initiative suffers from many substantive flaws that render it void as a matter of law.

Specifically (as discussed more fully below), the Initiative unlawfully invades three areas the California

2 The provision is undoubtedly unconstitutional under the Privileges and Immunities clause
(restricting non-Monterey County residents from purchasing housing), the Interstate Commerce
Clause, the 14" Amendment (see Saenz v. Roe, 526 U.S. 489 (1998), and possibly
Constitutional provisions and statutes relating to discrimination. Defendants are not arguing
that, in and of itself, the illegality of this one clause should stop this from being on the ballot,
because the subject matter is distinct and the provision could be severed from the remainder of
the Initiative. But its distinctiveness only underscores the Single-Subject Rule violation.
Proponents have included an unconstitutional provision that panders fo voters and might get

them to vote favorably for the remainder of the Initiative.
200358 _2.D0C -15- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 23 of 31

Legislature has set aside as areas of statewide concern: (1) State law governing the supply of housing
and amendment of housing elements of local general plans; (2) State law governing annexation of
unincorporated territory; and (3) State law governing the subdivision of land. The County cannot adopt
ordinances that conflict with state law governing an area of statewide concern, whether by Initiative or
pursuant to the County’s police powers. See Cal. Const. art. XI, § 7; see Legislature v. Deukmejian, 34
Cal.3d 658, 675 (1983); Committee of Seven Thousand v. Superior Court, 45 Cal. 3d 491 (1988). On
any one of those three grounds, the Imitiative is void as a matter of law.

(1) The Initiative Conflicts With State Legislation Governing the Adoption and

Amendment of Housing Elements,

The presumption in favor of the nght of initiative is rebuttable. The Legislature -- as part of the
exercise of its power to preempt all local legislation in matters of statewide concern -- has intended to
restrict that right. De Vita v. County of Napa, 9 Cal. 4th 763, 776 (1995). The rebuttable presumption
stems from the state constitution’s prohibition of the enactment and enforcement of Initiatives which
conflict with the general laws. Cal. Const., art. XI, § 7. Such a conflict arises when an ordinance
duplicates, contradicts, or enters an area fully occupied by state law, either expressly or by legislative
implication. Building Industry Assn. v. City of Livermore, 45 Cal. App. 4th 719, 724 (1996). If state
law has fully occupied the subject matter or field of the legislation, there is no room for supplementary
or complementary local legislation, even if the subject otherwise could be properly characterized as a
“municipal affair.” An ordinance that intrudes upon such preempted areas is void as a matter of law. Jd;
see also Building Industry Assn. v. City of Oceanside, 27 Cal. App. 4th 744, 770 (1994).

The Legislature has unequivocally declared that housing is an area of statewide concern.
California Government Code § 65580 states, “[t]he availability of housing is of vital statewide
importance, and the early attainment of decent housing and a suitable living environment for every
California family is a priority of the highest erder.” (Emphasis added.) Over and over again, the courts
have recognized “as common knowledge” the state’s preemption of the area of housing. See, e.g.,
Building Industry Assn. v. City of Oceanside, 27 Cal. App. 4th 744, 770 (1994) (“the three cited

Government Code sections, taken together, clearly show an important state policy to promote

200358 _2.DOC -16- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 24 of 31

construction of low income housing and to remove impediments to same”); Buena Vista Gardens
Apartments Assn. v. City of San Diego Planning Dept., 175 Cal. App. 3d 289, 306 (1985) (the legislature
and the judiciary have “found the need to provide adequate housing to be a matter of statewide
concem”); Bruce v. City of Alameda, 166 Cal. App. 3d 18, 21-22 (1985) (“locally unrestricted
development of low cost housing is a matter of vital state concern”).

The Legislature’s intent to occupy the field in the area of housing also is demonstrated by the
comprehensive scheme set up by the Legislature for amending the housing element of a general plan.
The Legislature has stated that its statutory scheme is intended to assure that cities contribute to
attainment of state housing goals by preparing and implementing housing elements which, along with
federal and state programs, move toward attaining the state housing goal. Cal. Gov. Code § 65581(a),
(b). The Legislature recognized that each locality is “best capable of determining what efforts are
required by it to contribute to the attainment of the state housing goal, provided such a determination is
compatible with the state housing goal and regional housing needs.” Jd., at § 65581, subd. (c).

In furtherance of those goals, California Government Code § 65588 requires, among other
things: (a) that each local government review its housing element “as frequently as appropriate” to
evaluate the attainment of state housing goals (id., at § 65588(a)); (b) that the local government revise
the housing element not less than every five years to reflect the results of its periodic review (id., at §
65588(b)); (c) that local governments take into account statutory requirements for low-income housing
in the coastal zone (id., at § 65588(c)). Moreover, any draft amendment to the housing element must be
submitted to the State Department of Housing and Community Development for review and comments.
Id., at § 65585.

The Initiative runs headlong into the carefully-crafted scheme for adopting and amending the

housing elements of general plans. The Initiative purports to amend the County Housing Element,3 and,

3 In addition to changing the Housing Element’s policies for new growth (see Initiative at
21, et seq.) the Initiative purports to amend the County Housing Element in at least four other
ways: (a) the Initiative eliminates provisions for new urban communities in the community
areas of Rancho San Juan and Pine Canyon (see Initiative at 52); (b) the Initiative increases the

percentage of mandatory and voluntary inclusionary units (see Initiative at pp. 54, 59
200358 2.DOC -17- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

oOo ~~ N

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 25 of 31

like every other substantive component of the Initiative, subjects any additional amendment of the
Housing Element to the measure’s overriding voter-control provision, which states: “In order to
maintain voter control over poorly-planned development, no provision of this Initiative measure shall be
changed, amended, or repealed except by a vote of the People.”

Accordingly, if the Initiative were to be implemented, the County would be bound by the
amendments contained in the Initiative, and could not revise those elements without the fiat of the local
electorate. In short, the Initiative would take amendment of the County Housing Element out of the
County’s hands and place it in the hands of the electorate. The County would thereby be precluded from
complying with the statutory requirement that it review and amend the Housing Element every five
years and seek review and approval of the Department of Housing and Community Development for
such amendments.

The rule of deference to the initiative process does not compel a governmental agency to violate
state law. Yet, the restrictions imposed by the Initiative would clearly stymie, if not completely thwart,
the County’s ability to comply with the comprehensive Housing Element adoption and amendment
scheme. On that basis, the Initiative intrudes on an area of statewide concern and is void.

(2) The Initiative Conflicts With State Law Governing Annexations of County
Territory.

State law preempts the field of municipal annexations; creation of spheres of influence; and
extensions of municipal services into unincorporated territory. The Legislature has enacted a
comprehensive and exclusive process to ensure the logical and reasonable development of cities and

counties.

(inclusionary housing requirement increased from 20 percent to 30 percent and to 40 percent in
certain areas)); (c) the Initiative strikes a provision for 100 percent voluntary affordable housing
in areas of greatest shortage (see id., at 53); and (d) the Initiative provides for right of first
refusal to a list of persons who live or work in the County for new housing (see id., at 53).

200358 2.DOC -18- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 26 of 31

That statutory scheme, now found in the Cortese-Knox-Hertzberg Local Government
Reorganization Act of 2000 (codified at Cal. Gov. Code § 56000, et seq.), has been recognized by the
courts to be the exclusive process by which certain actions may be taken. The Local Agency Formation
Commission (“LAFCO”) which exists by virtue of State law in every county, is given certain exclusive
responsibilities with respect to the determination of probable expansion of cities and districts. The
statutory scheme was previously found in the Cortese-Knox Local Government Reorganization Act of
1985 at Gov. Code § 56000, et seq.

In County of Fresno v. Malaga County Water District, 100 Cal. App. 4th 937 (2002), the court
states: “[T]Jhe 1985 Act is a broad statutory scheme that covers organizational changes for local
government. (Citation.) It provides “the sele and exclusive authority and procedure for the initiation,
conduct, and completion of changes of organization and reorganization for cities and districts.”

Id. (emphasis added).

The goal of the statute is “to encourage orderly growth and development which are essential to
the social, fiscal, and economic well-being of the state.” Cal. Gov. Code § 56001. To effectuate that
goal, each county has a LAFCO that is charged with reviewing and approving or disapproving proposals
for changes of organization. Jd., at §§ 56325, 56375. Through that process, the LAFCO strives to
facilitate the logical and reasonable development of cities, counties and districts in order to provide for
the present and future needs of each county and its communities. /d., at §§ 56054, 56301.

Like the issue of housing, the annexation statute constitutes a complex statewide scheme for
annexation that evidences an intent to occupy the field. In undertaking its charge, the LAFCO
undertakes the following tasks: (a) conducts a municipal service review to determine the needs of each
area within the county and the public agencies that can provide the services (id., at § 56378); and (b)
determines the sphere of influence for each public agency within the county (id., at § 56425). When an
area is being considered for incorporation, annexation to a city or to a district, or thé formation, merger,
or dissolution of a district, the LAFCO adopted sphere of influence is a factor in the deliberations.

Some LAFCO actions, such as incorporation, are subject to a vote by those living within the

affected areas. /d., at § 57000(e)(1). Other reorganizations are submitted to an electoral process only if

200358 _2.D0C -19- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 27 of 31

a threshold percentage of registered voters or owners of property within the affected territory protest the
approval by LAFCO. Id., at §§ 57026, 57075. Elections are not held except in the circumstances set
forth in the state scheme.

In conflict with the state scheme, the Initiative requires approval by the voters of a development
plan that would expand the boundaries of an “Area of Development Concentration” as they existed prior
to the effective date of the policy or otherwise vested. See Initiative at § 26.1.3.2 (a). Areas may be
approved that are inconsistent with the sphere of influence as determined by LAFCO, while other areas
approved by LAFCO might not ever receive voter approval. The vote requirement of the Initiative
therefore conflicts with the legislative scheme set up for the reorganization of districts and local
governments. See Ferrini v. City of San Luis Obispo, 150 Cal. App. 3d 239 (1983) (holding that a city’s
charter amendment to require voter approval of annexations contrary to the role of LAFCO under State
law).

(3) =‘ The Initiative’s Development Exclusion Categories Conflict With the
Subdivision Map Act.

The Initiative’s growth control provisions override previously permissible development
concentration areas in the current Countywide Land Use Plan. The Initiative nevertheless provides
several exceptions for development projects that have vested or otherwise have become legally eligible
for conveyance. For example, § 26.1.3.2(a) prohibits the addition of new parcels in areas outside the
incorporated boundaries of cities and the Initiative’s urban limit lines -- subject to an exception for
developments that have vested. In a similar vein, § 26.1.3.3 requires a public vote for increasing the
number of parcels “exist[ing] as of the effective date of this policy.” The section then defines lots
“exist{ing] as of the date of this policy” to include “parcels that are legally eligible for conveyance or for
construction of improvements under the Subdivision Map Act ... by the effective date of this policy.”
Finally, in § 26.1.4(c), the Initiative allows subdivision of lands outside the urban development
boundaries of certain Community Areas “only” when, among other things, the subdivision complies
“with the provisions of an approved vesting tentative map ... if such vested tentative map has provided

the landowner with a vested property right.”

200358_2.DOC -20- Case No.: C 06-01730 TW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

“TON

oo

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 28 of 31

Each of the above-referenced exceptions is tied either to: (a) the maturation of a vested nght
(e.g., pursuant to a vesting tentative map); or (b) the ability to convey parcels pursuant to the Map Act.
The Initiative does not appear to exempt projects for which the County has approved a (non-vesting)
tentative map, but which have not progressed to final map approval.
The Initiative’s omission of such projects from the scope of the growth control exceptions
conflicts with the Map Act. Section 66474.1 of the Map Act provides that local governmental bodies
“shall not deny approval of a final ... map” if the final map is in “substantial compliance with the
previously approved tentative map.” Id., § 66474.1; see Youngblood v. Board of Supervisors, 22 Cal. 3d
644, 655-656 (1978). The courts interpret § 66474.1 to require the government body to approve or deny
the project when the tentative map application is up for approval -- not thereafter. City of West
Hollywood v. Beverly Towers, Inc., 52 Cal. 3d 1184 (1991); Youngblood, 22 Cal. 3d at 655-656.
Moreover, the governing body must only consider those requirements and conditions in place when the
tentative map was approved. See Cal. Gov. Code § 66473. The approval of a tentative map therefore
confers certain rights on developers with respect to their projects. As one court noted:
The approval of a tentative map gives the subdivider certain nghts
with respect to approval of a final map. Thus, a final map may not
be disapproved if it is in substantial compliance with a previously
approved tentative map. (Gov. Code, § 66474.1.) And only those
requirements and conditions that were applicable to the subdivision
at the time of approval of the tentative map may be considered
with respect to the final map. (Gov. Code, § 66473.) In other
words, the time for the local agency to take action with respect to a
proposed subdivision is when the tentative map is under
consideration and, provided the final map is in substantial
compliance with the tentative map and any conditions imposed on
its approval, the approval of the final map becomes a ministerial
act.

Beck Dev. Co. v. 8. Pac, Transportation Co., 44 Cal. App. 4th 1160, 1199 (1996).

By timing discretionary action at the tentative map approval stage, the Legislature sought to
protect the investments and expectations of developers, which often must expend significant resources in
reliance on the tentative map. As the Youngblood court observed:

Once the tentative map is approved, the developer often must

expend substantial sums to comply with the conditions attached to
that approval. These expenditures will result in the construction of

200358 _2.DOC -21- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Oo OC SAN

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 29 of 31

improvements consistent with the proposed subdivision, but often

inconsistent with alternative uses of the land. Consequently it is

only fair to the developer and to the public interest to require the

governing body to render its discretionary decision whether and

upon what conditions to approve the proposed subdivision when it

acts on the tentattve map. Approval of the final map thus becomes

a ministerial act once the appropriate officials certify that it is

substantial compliance with the previously approved tentative map.
City of West Hollywood, 52 Cal. 3d 1184, 1190-1191; Great Western Sav. & Loan Assn. v. City of Los
Angeles, 31 Cal. App. 3d 403, 411, 414 (1991). It is therefore settled that, after approval of a tentative
map, the governing body has no further discretion to deny approval of final map.

The Map Act also extends its protections to developments with pending applications for tentative
map approval -- notwithstanding the absence of an approved tentative map. In 1982, the Legislature
enacted §§ 65961 and 66474.2 to provide more extensive protections to developers. The legislation was
intended “to prevent local agencies from imposing new exactions under their police power following
tentative map approval ....” Golden State Homebuilding Assocs. v. City of Modesto, 26 Cal. App. 4th
601, 607-608 (1994). Those sections provide that a local agency, in deciding whether to approve or
disapprove a tentative map, may apply only “ordinances, policies, and standards” in effect on the date
the agency determined the map application was complete. Sections 66474.2 and 65961 “prohibit[] 2
local agency under certain circumstances from imposing a condition on a building permit (or its
equivalent) which it could have ‘lawfully imposed’ on a previously approved tentative map.” Id.

The Initiative’s growth control measure provides no exceptions for projects with approved
tentative maps, or developments for which vesting tentative map applications have been deemed
complete, The Initiative appears to except only projects that have “vested” or have progressed to a point
where lots are ready for conveyance. The Initiative therefore purports to give authority to the County to
deny projects that are incompatible with the Initiative’s growth-control scheme, even if those projects
have approved tentative maps. Critically, protections afforded by tentative map approval are not limited
to “vesting” tentative maps. While the Legislature amended the Map Act to provide for approvals of

vesting tentative maps “whenever the Map Act requires a tentative map” (see Cal. Gov. Code §

66498.1), Youngblood was a tentative map case. The protections afforded under Youngblood and its

200358 2.DOC -22- Case No.: C 06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

Oo oF ms!

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 30 of 31

progeny therefore do not require the approval of a “vesting” tentative map. Accordingly, the Initiative
conflicts with the legislative scheme of the Map Act.

The Map Act provides general “statewide criteria” for subdivisions of land. See 64 Ops. Cal.
Atty. Gen. 549, 550 (1981); 63 Ops. Cal. Atty. Gen. 601, 602 (1980).) It “occupies the field as to
subdivisions of property.” 63 Ops. Cal. Atty. Gen. 64, 65 (1980). Accordingly, local ordinances must
be consistent with the Map Act -- those ordinances that conflict are invalid. Id.; see Friends of Lake
Arrowhead v. Bd. of Supervisors, 38 Cal. App. 3d 497, 508 (1974). The Initiative’s categories of
exemption excludes approved tentative maps and otherwise overlooks developments with pending,
complete tentative map applications. It therefore conflicts with the protective scheme of the Map Act
and, on that basis, is invalid.

6. THIS CASE WAS PROPERLY REMOVED TO FEDERAL COURT.

Plaintiffs’ request for remand to the State Court is, at best, half-hearted, and at worst it misstates
the standard this Court should apply in construing removal under the removal statute at issue here,
which is the civil rights removal statute of 28 U.S.C. § 1443(2). Plaintiffs first refer the Court to an
inapposite case dealing with diversity removal, where the issue was whether the amount in controversy
met the jurisdictional minimum. Gaus v. Miles, 980 F.2d 564 (9th Cir. 1992). They then cite Shamrock
Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-109 (1941) for the proposition that “[flederal removal
must be rejected if there is any doubt as to the right of removal in the first instance.” But Shamrock Oil
has been overruled on this very point. See Breuer v, Jim’s Concrete of Brevard, Inc., 538 U.S. 691,
697-98 (2003) (“Breuer relies heavily on our statement in Shamrock Oil & Gas Corp. v. Sheets ... that
‘the policy of the successive acts of Congress regulating the jurisdiction of federal courts is one calling
for the strict construction of [removal legislation] ... But whatever force this argument might have had
when Shamrock was handed down has been qualified by later statutory development. ... Since 1948,
therefore, there has been no question that whenever the subject matter of an action qualifies it for
removal, the burden is on a plaintiff to find an express exception”) (emphasis added).

The subject matter of this action qualifies it for removal. Under 28 U.S.C. § 1443(2), a

defendant may remove a civil action from state to federal court “[fJor any act under color of authority

200358 2.DOC -23- Case No.: C06-01730 JW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

mR tw WNW

Case 5:06-cv-01730-JW Document 33 Filed 03/17/06 Page 31 of 31

derived from any law providing for equal rights, or for refusing to do any act on the ground that it would
be inconsistent with such law.” Defendants were sued for refusing to place the Initiative on the ballot mm
part because it would have been inconsistent with FVRA. There is no doubt that a “colorable conflict”
exists between state and federal law here. In fact, the two are completely incompatible. Insofar as state
law requires that the County place the Initiative on the June ballot despite the fact that certain election
materials were not translated into Spanish, in light of the Zaldivar and Padilla opinions the County
would be in violation of FVRA’s bilingual and pre-clearance provisions were it to do so. Courts which
have reviewed the matter have said voting rights cases are subject to § 1443(2). Wachtler v. Cuomo,
1991 U.S. Dist. LEXIS 17069 at *10. See, also, Smith v. Winter, 717 F.2d 191, 194 (" Cir. 1983);
Sexson v. Servaas, 33 F.3d 799, 801 (7" Cir. 1994). Accordingly, there is no doubt that removal under
28 U.S.C. § 1443(2) is proper, and Plaintiffs do not even attempt to find an express exception to that
statute’s application. Breuer, 538 U.S. at 698.
7. CONCLUSION.

For the foregoing reasons, this Court should deny the Petitioner’s application for a temporary

restraining order and injunction.

Dated: March 17, 2006 NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP

‘S/

STEPHEN N. ROBERTS

Attorneys for Defendants/Respondents

BOARD OF SUPERVISORS OF THE COUNTY OF
MONTEREY; TONY. ANCHUNDO, IN HIS CAPACITY AS
MONTEREY COUNTY REGISTRAR OF VOTERS; AND
THE COUNTY OF MONTEREY

200358 2.DOC -24- Case No.: C 06-01730 IW

DEFENDANTS’ OPPOSITION TO APPLICATION FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION

